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                   11

                   12                                      UNITED STATES DISTRICT COURT

                   13                                   NORTHERN DISTRICT OF CALIFORNIA

                   14       NEO4J, INC., a Delaware corporation,               CASE NO. 5:18-cv-07182-EJD
                            NEO4J SWEDEN AB, a Swedish
                   15       corporation                                        DECLARATION OF CARY CHIEN IN
                                                                               SUPPORT OF NEO4J, INC.’S MOTION
                   16                           Plainotiffs,                   TO STRIKE AND MOTION TO DISMISS
                   17                v.                                         Date:      August 13, 2020
                                                                                Time:      9:00
                   18       PURETHINK LLC, a Delaware limited                   Dept.:     Courtroom 4, 5th Floor
                            liability company, IGOV INC., a Virginia            Judge:     Hon. Edward J. Davila
                   19       corporation, and JOHN MARK SUHY, an
                            individual,
                   20
                                                Defendants.
                   21

                   22
                                     I, Cary Chien, declare as follows:
                   23
                                     1.     I am an attorney at law, duly licensed to practice before all courts of the State of
                   24
                            California, and am of counsel with Hopkins & Carley, a Law Corporation, attorney of record for
                   25
                            Plaintiff Neo4j, Inc. (“Plaintiff” or “Neo4j USA”) in the above-referenced matter. I make this
                   26
                            declaration in support of Neo4j USA’s Motion to Strike and Motion to Dismiss for Failure to
                   27
                            State a Claim filed herewith in the above-captioned matter.
                   28
H OPKINS & C ARLEY          894\3555772.1
  ATTORNEYS AT LAW
 SAN JOSE   PALO ALTO
                            DECLARATION OF CARY CHIEN IN SUPPORT OF NEO4J, INC.’S MOTION TO STRIKE AND MOTION TO
                            DISMISS; CASE NO. 5:18-CV-07182-EJD
                            Case 5:18-cv-07182-EJD           Document 73-1        Filed 06/19/20     Page 2 of 2



                        1            2.     The facts stated herein are based on my personal knowledge, except with respect
                        2   to those matters stated to be on information and belief, and as to those matters, I believe them to
                        3   be true. If called upon to testify as a witness in this matter, I could and would do so competently.
                        4            3.     Attached hereto as Exhibit 1 is a true and correct copy of Neo4j USA’s webpage
                        5   dated October 13, 2015, (http://www.neo4j.com/trademark-policy), archived on July 10, 2017,
                        6   which was downloaded from the Wayback Machine website, a digital archive of the World Wide
                        7   Web (https://web.archive.org).
                        8            4.     Attached hereto as Exhibit 2 is a true and correct copy of Neo4j USA’s webpage
                        9   dated April 3, 2019 (http://www.neo4j.com/trademark-policy), which was downloaded from
                   10       Neo4j’s current website. This exhibit is also attached as Exhibit 2 to Plaintiffs’ Second Amended
                   11       Complaint. Dkt. No. 50, ¶ 28.
                   12                I declare under penalty of perjury under the laws of the United States of America that the
                   13       foregoing is true and correct and that this declaration was executed on this 19th day of June 2020,
                   14       at San Jose, California.
                   15
                                                                               By: /s/ Cary Chien
                   16                                                             Cary Chien
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